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 1
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13                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                    SAN FRANCISCO DIVISION
15

16
                                                DECLARATION OF ROBERTO FINZI IN
17
                                                SUPPORT OF DEFENDANTS’
18                                              RESPONSE TO DPPS’ MOTION TO
                                                STRIKE TESTIMONY OF DR. LAILA
19                                              HAIDER
     IN RE CAPACITORS ANTITRUST
20   LITIGATION                                  Master Docket No.: 3:17-md-2801-JD
21
     All Direct Purchaser Actions,               Hon. James Donato
22   Case No. 3:14-cv-03264-JD
                                                 Case No.: 3:14-cv-3264-JD
23

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           DECL. OF ROBERTO FINZI ISO DEFS.’ RESPONSE TO DPPS’ MOTION TO STRIKE
                             TESTIMONY OF DR. LAILA HAIDER
                          Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
      Case 3:14-cv-03264-JD Document 2897-1 Filed 12/11/21 Page 2 of 2



 1
              I, Roberto Finzi, declare and state as follows:
 2

 3            1.     I am an attorney licensed in New York and admitted pro hac vice in the Northern

 4   District of California. I am a Partner at Paul, Weiss, Rifkind, Wharton & Garrison LLP and am

 5   appearing on behalf of Nippon Chemi-Con Corporation (“NCC”) in this matter. I can

 6   competently testify that to the best of my knowledge and belief the matters set forth herein are

 7   true.

 8            2.     This declaration is made in support of Defendants’ Response to DPPs’ Motion to

 9   Strike Testimony of Dr. Laila Haider.

10            3.     Attached as Exhibit 1 is a copy of excerpts of the Expert Report of Dr. Laila

11   Haider, dated February 22, 2019.

12                   I declare under penalty of perjury that the foregoing is true and correct to the best of

13   my knowledge.

14

15   Executed on December 11, 2021

16                                                           /s/ Roberto Finzi
                                                           Roberto Finzi (admitted pro hac vice)
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             DECL. OF ROBERTO FINZI ISO DEFS.’ RESPONSE TO DPPS’ MOTION TO STRIKE
                               TESTIMONY OF DR. LAILA HAIDER
                           Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
